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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 

PROFIT POINT TAX TECHNOLOGIES,
INC.,

Plaintiff, Civil Action No. 2:19-cv-698

Vv. Hon. William S. Stickman IV
Hon. Maureen P. Kelly
DPAD GROUP, LLP, JOHN MANNING, and
DANIEL STEELE,

Defendants.

 

 

ORDER OF COURT

Plaintiff, Profit Point Tax Technologies, Inc. (“PPTT”), a service company that works
with companies to calculate income tax incentives for federal income tax purposes, is pursuing
claims against Defendants DPAD Group, LLP (“DPAD”), John Manning (“Manning”), and
Daniel Steele (“Steele”) (collectively, “Defendants”) as a result of a dispute over who is owed
fees for specialized income tax services work performed. (ECF No. 27). Manning and Steele
are tax professionals who provide services related to domestic activity deductions under Section
199 of the Internal Revenue Code. Steele became an independent contractor of PPTT in 2006 or
2007, and Manning became an independent contractor of PPTT in 2011. In May 2015, Manning
and Steele formed their own tax services company, DPAD. PPTT’s claims (Count I — Breach of
Contract against Manning and Steele; Count II — Breach of Fiduciary Duty against Manning and
Steele; Count III — Unjust Enrichment against DPAD; Count VI — Intentional Misrepresentation
against Defendants; and Count VII ~ Negligent Misrepresentation against Defendants) arise from
Defendants’ alleged usurpation of PPTT’s business through the use of PPTT’s confidential

information and other resources in soliciting PPTT’s clients.
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Defendants, in turn, are asserting counterclaims against PPTT and its sole shareholder,
Patrick Sweet (“Sweet”), arising out of allegedly unpaid fees on tax services projects — the
Hershey 2012, 2013 and 2014 projects; the Rockwater Energy Project; and the Zimmer Project.
(ECF No. 101). Manning and Steele bring two counterclaims for breach of contract under the
January 2011 Revenue Sharing Agreement (“RSA”) (Count I) and the February 2, 2016 Master
Fee Splitting Agreement and Release (the “Release”) (Count ID. (ECF No. 101). In the event
the Release is deemed invalid, Manning and Steele also brought two counterclaims in the
alternative. Count III raises claims for breach of the Release in the alternative under the RSA.
Count IV is a similar unjust enrichment claim. All counterclaims are brought against PPTT and
Sweet except Count II, which is only asserted against PPTT. (d.).

Pending before the Court are two motions: (1) Manning’s and Steele’s Motion for
Summary Judgment on their Counterclaims (ECF No. 259);! and (2) PPTT’s and Sweet’s Motion
for Summary Judgment (ECF No. 274). The Honorable Maureen P. Kelly issued a Report and
Recommendation recommending that the Court deny both motions. (ECF No. 303). The parties
were given the opportunity to file Objections, and PPTT did so. (ECF No. 305). DPAD,
Manning and Steele then filed a Response to PPTT’s Objections. (ECF No. 307).

After its independent de novo review of the record and consideration of the pleadings of
the parties, the Court hereby ADOPTS Magistrate Judge Kelly’s Report and Recommendation as
its Opinion. The Court OVERRULES PPTT’s objections. It concurs with Magistrate Judge
Kelly’s thorough analysis of the counterclaims and her legal conclusions. The Court holds that
the breach of contract counterclaims — Count I (RSA) and Count IT (Release) — will proceed to

trial as there are material issues of fact that must be decided by a jury. Further, it finds that

 

' DPAD joined the motion relative to Manning and Steele’s counterclaims, but it has not actually
asserted counterclaims in this action. (ECF Nos. 101 and 259).

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Counts I and II are not time barred. As to counterclaim Counts III and IV, which are premised
on specific relief — invalidating the Release — that PPTT is seeking on its direct claims, they are
now moot.

AND NOW, this _37 day of February 2023, IT IS HEREBY ODERED that Manning
and Steele’s Motion for Summary Judgment on their Counterclaims (ECF No. 259) is DENIED.
IT IS FURTHER ORDERED that PPTT’s and Sweet’s Motion for Summary Judgment (ECF

No. 274) is DENIED.

BY THE COURT:

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WILLIAM S. STICKMAN IV
UNITED STATES DISTRICT JUDGE
